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                             No. 22-13410
          (Consolidated with Nos: 22-14099-HH; 23-10387-J)


               In the United States Court of Appeals
                      for the Eleventh Circuit
            __________________________________________
                       DONALD J. TRUMP,
                        Plaintiff-Appellant,

              ALINA HABBA, MICHAEL T. MADAIO,
                HABBA MADAIO & ASSOCIATES;
             PETER TICKTIN, JAMIE ALAN SASSON,
                 and THE TICKTIN LAW GROUP
                              Appellants,

                                 versus

 HILLARY R. CLINTON, DEMOCRATIC NATIONAL COMMITTEE,
 HFACC, INC., DNC SERVICES CORPORATION, PERKINS COIE,
               LLC, et al., Defendants-Appellees.
          __________________________________________

          On appeal from the Southern District of Florida
                   Case No. 2:22-cv-14102-DMM
         Hon. Donald M. Middlebrooks, U.S. District Judge
    _________________________________________________________

OPENING BRIEF FOR PLAINTIFF-APPELLANT AND APPELLANTS
   _________________________________________________________
                            JESSE R. BINNALL
                            JARED J. ROBERTS
                        BINNALL LAW GROUP, PLLC
                        717 King Street, Suite 200
                        Alexandria, Virginia 22314
                             (703) 888-1943
                    Counsel for Plaintiff-Appellant
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             CERTIFICATE OF INTERESTED PERSONS
            AND CORPORATE DISCLOSURE STATEMENT


      Appellants Donald J. Trump, Alina Habba, Michael T. Madaio,

Habba Madaio & Associates, Peter Ticktin, Jamie Alan Sasson, and The

Ticktin Law Group include this Certificate of Interested Persons and

Corporate Disclosure Statement, listing the parties and entities

interested in this appeal, as required by 11th Cir. R. 26.1. Appellants

certify that this is a complete list.

      ABC Corporations

      Aytch, Enjolique Dion

      Barry, Stephen

      Barzee, William R.

      Berkowitz, Sean M.

      Berman, Joshua Adam

      Binnall, Jesse R.

      Bosworth, Michael S.

      Brozinsky, Noah

      Ceresney, Andrew J.

      Clattenburg, Rachel

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    Clinesmith, Kevin

    Clinton, Hillary R.

    Comey, James

    Crenny, Kevin P.

    Crowley, Shawn Geovjian

    Danchenko, Igor

    Democratic National Committee

    DNC Services Corporation

    Does' John

    Dolan, Jr., Charles Halliday

    Doumar, George R.A.

    Eisen, Allison

    Elias, Marc

    Epps, Alexandra N.

    Erickson-Pogorzelski, Anthony

    Fassbender, Diana Marie

    Feldman, Maximillian

    Fels, Adam Seth

    Fritsch, Peter


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    Fusion GPS

    Garcez, Isabela M.

    Garza, Kathryn E.

    Gillenwater, James E.

    Gonzalez, Juan Antonio

    Greenberg, Gerald Edward

    Habba, Alina

    Habba Madaio & Associates

    Harrington, Howard J.

    Hart, Nancy

    HFAAC, Inc.

    Houlihan, Michael F.

    Hunt, Patrick, Honorable

    Janda, Sean R.

    Joffe, Rodney

    Kaplan, Roberta A.

    Kastrenakes, Eleni Sevasti

    Kendall, David Evan

    Kiyonaga, Paul Y.


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    Klauber, Debra

    Letter, Douglas

    Levine, Jonathan Edward

    Levy, Joshua

    Lipshultz, Zachary Andrew

    Madaio, Michael T.

    Markus, David Oscar

    Martinez, Roberto

    McCabe, Andrew

    McCarthy, John

    McNichols, John Marcus

    Meeks, Katherine Moran

    Mestitz, Michael

    Middlebrooks, Donald M. Honorable

    Monsour, Jr. Franklin George

    Mook, Robert E.

    Muha, Christopher

    Neuman, Sarah E.

    Neustar Security Services


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    Neustar, Inc.

    Ohr, Bruce

    Ohr, Nellie

    Olmedo-Rodriguez, Jennifer

    Orbis Business Intelligence, Ltd.

    Otterberg, April A.

    Page, Lisa

    Peacock, Benjamin

    Perkins Coie, LLC.

    Pettis, Eugene K.

    Pinto, Paola

    Pittard, William

    Podesta, John

    Reines, Phillipe

    Reilly, Wendy B.

    Roberts, Jared Joseph

    Rosenstein, Rod

    Sainvil, Akiesha Renee Gilcrist

    Salzman, Joshua M


                                   v
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    Sasson, Jamie Alan

    Schar, Reid J.

    Schiff, Adam

    Schultz, Deborah Wasserman

    Sigler, Geoffrey M.

    Simpson, Glenn

    Soto, Edward

    Southall, Samantha

    Steele, Christopher

    Stekloff, Brian L.

    Strzok, Peter

    Sullivan, Jake

    Sussman, Michael

    Terrell, Stephen R.

    The Ticktin Law Group

    Ticktin, Peter David

    Touhey, James G.

    Trout, Robert P.

    Trump, Donald J.


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     Turner, Katherine M.

     Tyrrell, Steven

     United States of America

     Warin, Francis Joseph

     Neustar, Inc. is a wholly owned subsidiary of TransUnion, which is

a publicly traded entity at NYSE:TRU.




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           STATEMENT REGARDING ORAL ARGUMENT


     Appellants believe oral argument would assist the Court in

deciding the issues presented by this appeal.




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        Other Authorities

In the Matter of DNC Services Corp./Democratic National Committee

  and William Q. Derrough in his official capacity as treasurer;

  Hillary for America and Elizabeth Jones in her official capacity as

  treasurer; Perkins Coie LLP; Marc Elias; Fusion GPS; Christopher

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Senate Report No. 619, June 21, 1955, U.S. Code Cong. & Ad. News, 84

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* Authorities upon which Appellants chiefly rely are marked with an
asterisk.


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                            INTRODUCTION


     Appellees orchestrated a scheme to attack their political rival,

Donald J. Trump. While it is not unusual for campaigns to attack political

adversaries during election seasons, Appellees went far beyond that

norm, utilizing their government connections and access to engage the

U.S. Department of Justice and the Federal Bureau of Investigation in

their wrongful enterprise. Appellees’ efforts ultimately resulted in an

unprecedented and successful maneuver to weaponize federal law

enforcement for political purposes against a political foe.

     Accordingly, President Trump brought suit to right these wrongs.

Unfortunately, his case was short-circuited at the district court. The

district court’s Order dismissing the case was based upon a faulty

analysis of the statute of limitations as well as a wrongful determination

that the claims lacked merit.

     Thereafter, the district court entered two separate Orders

sanctioning President Trump and his trial counsel for almost $1 million,

based largely on its inherent authority. At no point did the district court

notify Appellants it was considering an inherent authority sanction.


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Indeed, it made all its rulings without ever taking evidence or holding a

hearing.

     After the district court’s rulings, Special Counsel John Durham

released his Report of his investigation regarding Appellees’ scheme. The

importance of that Report cannot be overstated. Its findings run directly

contrary to the district court’s factual determinations, both in its

dismissal Order and in its imposition of sanctions. While Appellees may

take issue with some of the Durham Report’s findings, the Report

undoubtedly shows President Trump’s claims were plausible and

certainly not sanctionable. If a dispute of fact exists, that should be

decided at a trial, not prematurely through a motion to dismiss and for

sanctions. All three district court decisions should be reversed, and the

case should be remanded to a different judge.




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             STATEMENT ON SUBJECT MATTER AND
                  APPELLATE JURISDICTION


     The district court had subject-matter jurisdiction over this case

pursuant to 28 § U.S.C. 1331 due to federal questions regarding federal

statutory violations. This Court has subject-matter jurisdiction over

these appeals pursuant to 28 § U.S.C. 1291 as they are appeals of final

judgments.

     The district court issued its Order dismissing President Trump’s

claims on September 8, 2022. Doc. 267. It issued Orders granting

sanctions on November 10, 2022, and January 19, 2023. Docs. 284 and

302. President Trump timely appealed each of these Orders on October

11, 2022, December 9, 2022, and February 6, 2023. Docs. 272, 291, 308.




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                    STATEMENT OF THE ISSUES


     1. Whether the district court erred when it dismissed President

Trump’s RICO claims and injurious falsehood claim with prejudice.

     2. Whether the district court erred when it awarded sanctions

against President Trump and his counsel, pursuant to its inherent

powers and under Rule 11.




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                        STATEMENT OF THE CASE


  1. Factual Background

     On March 24, 2022, President Trump filed suit due to Appellees’

scheme to disseminate false and injurious information about him and his

campaign in an effort to harm him. Doc. 177 - ¶ 9. President Trump

brought these claims under the Racketeer Influenced and Corrupt

Organization Act (“RICO”) and injurious falsehood, in addition to other

claims, which are not relevant to this appeal.

     Specifically, President Trump alleged in his Amended Complaint

that Appellees acted in concert to weave a false and injurious narrative

that he was colluding with a hostile power. Id. at ¶ 1. To accomplish this

goal, the conspiracy took distinct but related actions. First, Perkins Coie,

through its then-partner Marc Elias, led efforts to perform opposition

research and dig up any dirt possible on President Trump. Id. at ¶ 3. At

the same time, Appellee Clinton, her campaign, the Democratic National

Committee (“DNC”), and lawyers for both, hired Fusion GPS to produce

the Steele Dossier. Id. at ¶ 4. Moreover, Perkins Coie partner Michael

Sussmann led efforts to develop evidence of an alleged backchannel

between President Trump’s campaign and a Russian bank. Id. As a result

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of the misleading evidence that Appellees provided to the FBI, the FBI

began intensive long-term investigations into President Trump. Id. at ¶

7.

     2. Prior Proceedings

       On March 24, 2022, President Trump filed this lawsuit. Doc. 1. On

July 21, 2022, President Trump filed his Amended Complaint. Doc. 177.

On September 8, 2022, the district court dismissed President Trump’s

Amended Complaint in its entirety with prejudice, except for the claims

against the United States, for failing to state a claim and lack of subject

matter or personal jurisdiction over certain Defendants. Doc. 267.

       On July 15, 2022, Appellee Dolan’s counsel served a sanctions

motion on President Trump’s counsel, and on September 21, 2022, filed

the sanctions motion with the district court. Doc. 268. The district court

granted Appellee Dolan sanctions on November 10, 2022. Doc. 284. It

ordered $50,000 be paid into the registry of the court and $16,274.23 to

be paid to Appellee Dolan. Id.

       On October 31, 2022, multiple defendants moved to recover their

attorneys’ fees pursuant to Federal Rule of Civil Procedure 11, 28 U.S.C.

§ 1927, the Defend Trade Secrets Act, and the district court’s inherent


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powers. Doc. 280. On January 19, 2023, the district court granted this

motion in the amount of $937,989.39, using only its inherent powers. Doc.

302. The district court did not hold a hearing for either sanction decision.

     President Trump timely appealed each of these decisions. Docs.

272, 291, 308. On March 31, 2023, this Court consolidated these actions

to be briefed and heard together.

  3. Standards of Review

     This Court’s review of the district court’s Order dismissing

President Trump’s claims is de novo as it reviews a decision on a question

of law. Freeman v. Comm., Alabama Dept. of Corrections, 46 F.4th 1193,

1214 (11th Cir. 2022).

     The    standard     of   review    on     a   district    court’s   sanctions

determinations is abuse of discretion, and this Court can reverse if the

district court made a “clear error of judgment, or has applied the wrong

legal standard.” Amlong & Amlong, P.A. v. Denny’s, Inc., 500 F.3d 1230,

1238 (11th Cir. 2007); In re Mroz, 65 F.3d 1567, 1571 (11th Cir. 1995).

Indeed, the Supreme Court has noted that when an appellate court

reviews a sanctions determination under the abuse of discretion

standard, it can still correct the district court’s legal errors, including


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“relying on a materially incorrect view of the relevant law in determining

that a pleading was not warranted by existing law or a good faith

argument for changing the law.” Cooter & Gell v. Hartmarx Corp., 496

U.S. 384, 402 (1990) (internal quotation omitted and emphasis added).




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                    SUMMARY OF THE ARGUMENT


     This appeal stems from President Trump’s endeavor to hold

Appellees accountable for their concocted tale of Russian collusion to

derail President Trump’s presidency. The district court erred by

dismissing President Trump’s RICO and injurious falsehood claims and

then awarding sanctions.

     Specifically, the district court erred when it found the statute of

limitations   had   expired   by   failing      to   recognize      extraordinary

circumstances prevented President Trump from pursuing his claims in a

timely manner and failing to apply tolling during the pendency of at least

two federal actions that tolled the applicable statute of limitations. It

further erred when it found there was insufficient predicate acts to find

President Trump had plausibly pleaded his RICO and RICO conspiracy

claims.

     Additionally, the district court erred when it sanctioned President

Trump and his counsel without providing adequate notice for the

sanctions, issued under its inherent power, as required by Supreme

Court precedent. Sufficient notice is essential to ensure a district court’s


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inherent powers are not used as an “end run” around the notice

requirements of Rule 11.

     The district court also erred when it found President Trump and

his counsel engaged in bad faith conduct. To the contrary, President

Trump and his counsel worked to limit any unnecessary fees expended

by any party during the litigation. Further, President Trump advanced

numerous arguments for good faith extensions of the law, and reasonable

interpretations of the facts.

     Finally, the district court erred when it opted not to hold an

evidentiary hearing and, instead, accepted Appellees’ narration of the

‘facts’ as true rather than viewing them in the light most favorable to

President Trump. This is especially egregious considering that many of

the allegations in the Amended Complaint have now been corroborated

in the Durham Report.

     Accordingly, the district court’s Order dismissing President

Trump’s RICO and RICO conspiracy claims, and Injurious Falsehood

claim, should be reversed, and the sanctions Orders should be vacated.




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                              ARGUMENT


  I.      The district court erred in granting Defendants’ Motions to
          Dismiss.

       President Trump’s Amended Complaint should have survived the

motions to dismiss because the statute of limitations was tolled, and he

presented well-pleaded, plausible allegations of RICO violations, as well

as injurious falsehood claims. By short-circuiting the litigation in a

politically-charged Order, the district court made several reversible

errors.

          a.   The district court erred when it found the action was
               untimely.

       The district court erred when it dismissed President Trump’s RICO

claim as barred by the statute of limitations. A “statute of limitations bar

is an affirmative defense, and plaintiff[s] [are] not required to negate an

affirmative defense in [their] complaint.” La Grasta v. First Union Sec.,

Inc., 358 F.3d 840, 845 (11th Cir. 2004) (quotation omitted). “A Rule

12(b)(6) dismissal on statute of limitations grounds is appropriate . . . if

it is apparent from the face of the complaint that the claim is time-

barred.” Id. (quotation marks omitted). The district court admitted this

requires, at the motion to dismiss stage, an action only be excluded on

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statute of limitations grounds “if it appears beyond a doubt that plaintiffs

can prove no set of facts that toll the statute.” Doc. 267 at 23 (citing Tello

v. Dean Witter Reynolds, Inc., 410 F.3d 1275, 1288 n.13 (11th Cir. 2005)).

      The statute of limitations for civil RICO actions is four years from

when the injury was or should have been discovered. Lehman v. Lucom,

727 F.3d 1326, 1330 (11th Cir. 2013). There is no statute of limitations

contained within the RICO Act. Agency Holding Corp. v. Malley-Duff &

Assoc., 483 U.S. 143, 146 (1987) (“As is sometimes the case with federal

statutes, RICO does not provide an express statute of limitations for

actions brought under its civil enforcement provision.”). The Supreme

Court has read the four-year statute of limitations from the Clayton Act

into the RICO Act. Id. at 156 (“the practicalities of RICO litigation make

the selection of the 4–year statute of limitations for Clayton Act actions,

15 U.S.C. § 15b, the most appropriate limitations period for RICO

actions”).

      The district court found President Trump knew or should have

known about the existence of his claims by October 2017, wrongfully

setting the statute of limitations deadline in October 2021. Due to




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equitable tolling, and the pendency of government actions, the statute of

limitations should have been tolled.


           1.    The statute of limitations should be equitably tolled.

     The Supreme Court recognizes it “is hornbook law that limitations

periods are ‘customarily subject to “equitable tolling[.]”’ Young v. United

States, 535 U.S. 43, 49–50 (2002) (citing Irwin v. Department of Veterans

Affairs, 498 U.S. 89, 95 (1990)). The Supreme Court clarified equitable

tolling “pauses the running of, or ‘tolls,’ a statute of limitations when a

litigant has [1] pursued his rights diligently but [2] some extraordinary

circumstance prevents him from bringing a timely action.” Lozano v.

Montoya Alvarez, 572 U.S. 1, 11 (2014) (citing Pace v. DiGuglielmo, 544

U.S. 408, 418 (2005)).

     The Supreme Court emphasized this determination is made on a

“case-by-case basis.” Id. And it noted “the need for ‘flexibility’ [and] for

avoiding ‘mechanical rules’” in this assessment, encouraging courts to

“‘relieve hardships which, from time to time, arise from a hard and fast

adherence’ to more absolute legal rules, which, if strictly applied,

threaten the ‘evils of archaic rigidity.’” Id. (citations omitted).

Accordingly, it directed litigants and courts to look to the content of the

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statutes to determine if the presumption that a federal statute may be

equitably tolled is specifically foreclosed. Id. at 11 (citing Young, 535 U.S.

at 49-50).

     Because courts borrow the proper statute of limitations from the

Clayton Act, the RICO Act necessarily does not contain any prohibition

on equitable tolling. Moreover, the Supreme Court found that the Clayton

Act’s statute of limitations is subject to equitable tolling. United States

v. Wong, 575 U.S. 402, 403 (2015) (citing American Pipe & Constr. Co. v.

Utah, 414 U.S. 538, 559 (1974)). The Supreme Court determined when

“borrowing a state period of limitation for application to a federal cause

of action, a federal court is relying on the State's wisdom in setting a

limit, and exceptions thereto, on the prosecution of a closely analogous

claim.” Id. at 464. While it is true the Court was specifically considering

the issue of assuming a state standard into a federal statute, the same

logic would apply in assuming a part of a federal statute into another.

See Malley-Duff, 483 U.S. at 146. Therefore, the Clayton Act’s tolling

provisions and interpretations would also be incorporated into the RICO

statute along with the statute of limitations.




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     Here, President Trump’s circumstances satisfy both prongs

required for equitable tolling. He pursued his rights diligently, but

extraordinary circumstances prevented him from bringing a timely

action. Lozano, 572 U.S. at 11. President Trump was the President of the

United States from January 20, 2017, until January 20, 2021. This surely

qualifies as an “extraordinary circumstance.” Indeed, the Supreme Court

recognizes the President “occupies a unique position in the constitutional

scheme.” Nixon v. Fitzgerald, 457 U.S. 731, 749 (1982). The President has

an overarching duty to “preserve, protect, and defend the Constitution”

and to take “[c]are that the Laws be faithfully executed[.]” U.S. Const.

art. II, §§ 1, 3. For this reason, Nixon cautioned, “[b]ecause of the

singular importance of the President’s duties, diversion of his energies by

concern with private lawsuits would raise unique risks to the effective

functioning of government.” Nixon, 457 U.S. at 749.

     During President Trump’s entire term, he was forced to address

allegations from a baseless investigation, largely perpetuated by

Appellees. As the Durham Report now confirms,1 the FBI opened an




     1  As Appellants noted in their Motion for Judicial Notice, judicial
notice of the Durham Report in this case is appropriate.
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investigation into President Trump without “any actual evidence.” U.S.

Dept. of Justice, Office of Special Counsel John H. Durham, Report on

Matters Related to Intelligence Activities and Investigations Arising Out

of the 2016 Presidential Campaigns (May 12, 2023) (“Durham Report”),

at Pg. 8. The FBI did so swiftly, without evaluating any of the ‘evidence’

given to them, through agents with hostile feelings towards President

Trump. Durham Report at Pg. 9. Had the FBI carefully analyzed the

information given to them from persons such as Appellees, it would have

realized that there was no evidence President Trump, or his campaign

was involved with Russia. Id.

      As President, President Trump could have taken action against

these investigators, but it would have created an appearance that he was

attempting to wrongly shut down the investigation or otherwise interfere

with law enforcement functions. Such an appearance would have

undermined President Trump’s belief in law and order and sent the

wrong message to the Nation. Therefore, President Trump was obligated

to let these investigations unfold in their entirety before he could bring

this suit. These extraordinary circumstances have not been faced by a

plaintiff before.


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     In holding equitable tolling is not allowed, the district court relied

on Trump v. Vance, 140 S. Ct. 2412, (2020), and Trump v. Comm. On

Ways & Means, 391 F. Supp. 3d 93, 95 (D.D.C. 2019) as examples of

President Trump bringing suits while President. These cases are

distinguishable from the present matter as these matters were not purely

personal lawsuits. Instead, in those matters, President Trump sought to

protect the separation of powers and the Office of the President from

encroachment by the Legislative Branch. This suit, however, involves

President Trump’s personal injuries sustained due to Appellees actions.

Thus, it was only proper to bring after his presidency.

     Contrary to the district court’s finding that Clinton v. Jones, 520

U.S. 681 (1997), forecloses equitable tolling in this case, see Doc. 267 -

Pg. 27, in rejecting a “categorical rule” for tolling during a presidential

term, Clinton acknowledged that the “high respect that is owed to the

office of the Chief Executive . . . is a matter that should inform the

conduct of [an] entire proceeding” and stressed that “the question of

whether a specific case should receive exceptional treatment is more

appropriately the subject of the exercise of judicial discretion than an




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interpretation of the Constitution.” Clinton, 520 U.S. at 706. Accordingly,

the holding in Clinton does not foreclose equitable tolling.

     Reviewing this case de novo, this Court should right the district

court’s wrongs. Accordingly, given the unprecedented and extraordinary

circumstances, and President Trump’s diligence in dealing with them,

equitable tolling is appropriate for President Trump’s personal lawsuit

in this matter and the Court should reverse.

           2.    The pendency of government actions tolled the statute
                 of limitations.

     In addition to equitable tolling, two government actions tolled this

matter under 15 U.S.C. § 16(i). As discussed supra, the Supreme Court

has read the statute of limitations from the Clayton Act into RICO. The

tolling effect of 15 U.S.C. § 16(i) is triggered upon the commencement of

any “civil or criminal proceeding [] instituted by the United States to

prevent, restrain, or punish violations of any of the antitrust laws.” 15

U.S.C. § 16(i). The district court erred when it did not conclude Clayton

Act tolling applies in this context. Doc. 267 - Pg. 28.

     As a starting point, the Supreme Court previously opined that “[i]n

virtually all statutes of limitations the chronological length of the

limitation period is interrelated with provisions regarding tolling,

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revival, and questions of application.” Johnson v. Railway Exp. Agency,

Inc., 421 U.S. 454, 464 (1975). Therefore, a statute of limitation contained

in a statute must be interrelated with the tolling provisions contained

within the same statute. Here, the Clayton Act’s statute of limitations is

interwoven with the tolling provision included in the Clayton Act.

Moreover, as discussed supra, the Clayton Act’s tolling provisions and

interpretations would also be incorporated into RICO along with the

statute of limitations.

     Indeed, several courts have confirmed, consistent with Johnson v.

Railway Exp. Agency, Inc, the tolling provision of 15 U.S.C. § 16(i) applies

to RICO actions. See, e.g., Pension Fund Mid Jersey Trucking Industry

v. Omni Funding, 687 F. Supp. 962, 965 (D.N.J. 1988) (“I conclude that

the tolling provisions of the Clayton Act are applicable under RICO.”);

Gianelli v. Schoenfeld, 2021 WL 4690724, at *6 (E.D. Cal. Oct. 7, 2021)

(“The court is willing to assume . . . that the Clayton Act’s tolling

provision applies to RICO claims.”); Pres. Petrified Forrest v. Renzi, 2014

WL 530574, at *3–4 (D. Ariz. Feb. 12, 2013) (“The Court concludes that

the tolling provision in 15 U.S.C. § 16(i) applies to the RICO civil

enforcement provisions.”).


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      The time of commencement under 15 U.S.C. § 16(i) is generally

considered to be the filing of an indictment or complaint. See, e.g., Leh v.

Gen. Petroleum Corp., 382 U.S. 54, 59–63 (1965) (giving tolling effect

from when the government filed a complaint); Minn. Mining & Mfg. Co.

v. New Jersey Wood Finishing Co., 381 U.S. 311, 313 (1965) (giving

tolling effect from the date the FTC filed an enforcement action). When

applicable, § 16(i) “tolls the statute of limitations against all participants

in a conspiracy which is the object of a government suit, whether or not

they are named as defendants or conspirators therein.” Zenith Radio

Corp. v. Hazeltine Research, 401 U.S. 321, 336 (1971). In drafting the

tolling provision of the Clayton Act, “Congress meant to assist private

litigants in utilizing any benefits they might cull from government . . .

actions.” Minn. Mining & Mfg. Co., 381 U.S. at 317. The legislature’s

reasoning included allowing potential plaintiffs to “reap the benefits” of

related government proceedings by allowing them to “study the

[g]overnment’s case, estimate his own damages, assess the strength and

validity of his suit, and prepare and file his complaint.” Senate Report

No. 619, June 21, 1955, U.S. Code Cong. & Ad. News, 84 Cong. 1st Sess.

P. 2332. Appellees argued, however, and the district court accepted, §


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16(i) was inapplicable because there were no “government actions

founded on the specific RICO predicate acts [] alleged.” Doc. 267 - Pg. 28.

     Appellants argued at least two distinct proceedings were based on

a similar theory to the RICO action: (1) a Federal Election Commission

(“FEC”) case, and (2) the Sussmann case in the United States District

Court, District of Columbia, United States v. Michael Sussmann, case

no.1:21-cr-00582-CRC (the “Sussmann Action”). See generally, Doc. 177

- ¶¶ 528–43. The district court failed to recognize the express language

of 15 U.S.C. § 16(i) only requires a prior proceeding be “based in whole or

in part on any matter complained of” in the instant proceeding. A “private

plaintiff is not required to allege that the same means were used to

achieve the same objectives of the same conspiracies by the same

defendants . . . [r]ather, effect must be given to the broad terms of the

statute itself—‘based in whole or in part on any matter complained of.’”

Leh, 382 U.S. at 59. President Trump must only show “the matters

complained of in the government suit bear a real relation to the private

plaintiff’s claim for relief.” Id. at 59; see also Minn. Mining & Mfg. Co.,

381 U.S. at 323 (stating that § 16(i) “provides for tolling as long as the

private claim is based ‘in part on any matter complained of’ in the


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government proceedings.”). To make this determination, courts look

towards “a comparison of the two complaints on their face.” Leh, 382 U.S.

at 65.

     First, the FEC commenced an enforcement action against the DNC

and the Clinton Campaign, under the caption In the Matter of DNC

Services Corp./Democratic National Committee and William Q. Derrough

in his official capacity as treasurer; Hillary for America and Elizabeth

Jones in her official capacity as treasurer; Perkins Coie LLP; Marc Elias;

Fusion GPS; Christopher Steele, Federal Election Commission, MURs

7291, 7331 and 7449 (the “FEC Action”). The Supreme Court has

interpreted § 16(i) broadly to encompass federal administrative

proceedings. Specifically, in Minn. Mining & Mfg. Co., the Court found a

proceeding initiated by the Federal Trade Commission (“FTC”) qualified.

In doing so, the Court pointed to the legislative intent of § 16(i) and

implied all proceedings initiated by a federal agency would similarly

qualify:

     We hold, therefore, that the limitation provision of [§ 16(i)] is
     tolled by Commission proceedings to the same extent and in
     the same circumstances as it is by Justice Department
     actions. In so holding we give effect to Congress' basic policy
     objectives in enacting [§ 16(i)]—objectives which would be
     frustrated should we reach a contrary conclusion and thereby

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     deprive large numbers of private litigants of the benefits of
     government antitrust suits simply because those suits were
     pursued by one governmental agency rather than the other.

Minn. Mining & Mfg. Co., 381 U.S. at 321-322.

     In the FEC Action, the First General Counsel’s Report (the “FEC

Complaint”) was filed on April 10, 2019. See generally Doc. 237.2; see

also, Doc. 177 - ¶ 83(f), 470–79. The FEC Complaint alleged the DNC and

the Clinton Campaign “failed to file accurate disclosure reports when

they mischaracterized the payee and purpose of certain disbursements

disclosed as made to Perkins Coie LLP for legal services, when in fact the

payments were passed through to the research firm Fusion GPS for the

purpose of opposition research and should have been disclosed as such.”

Doc 237.2 - Pg. 1. The FEC Complaint also discusses many of the

prominent Appellees in this action, including Perkins Coie, Elias, Mook,

Fusion GPS, Simpson, and Steele.

     The facts alleged in the FEC Complaint overlapped significantly

with the allegations contained in President Trump’s Amended

Complaint, particularly with regard to the construction of the Enterprise,

the RICO Appellees’ actions in furtherance of the Enterprise’s goals, their

collective efforts to conceal their illicit arrangement by misreporting the


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relationship between the DNC/the Clinton Campaign and Fusion GPS

and funneling funds through Perkins Coie, and Appellees’ knowledge of

the same.

     For example, the FEC Complaint described how the Clinton

Campaign and the DNC, through their joint general counsel, Perkins

Coie, worked with Fusion GPS, who retained Steele and Orbis Ltd., to

perform opposition research on President Trump and lead a media smear

campaign against him. Id. at Pgs. 20-30. It goes on to describe how “Steele

drafted a series of memoranda based on the information he gathered (i.e.,

the dossier) and provided the memoranda, intermittently, to Fusion,

which in turn shared some of the information therein . . . with Perkins

Coie, which in turn shared some of the information with [the Clinton

Campaign and the DNC].” Id. at Pg. 39; compare generally to Doc. 177.

     President Trump argued the significant overlap between the FEC

Complaint, and the Amended Complaint qualifies the FEC Action as a

“civil or criminal proceeding . . . instituted by the United States” tolling

the RICO statute of limitations. Accordingly, the statute of limitations

for President Trump’s RICO claim was suspended beginning on April 10,




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2019, when the FEC action was filed, and remained in place when

President Trump’s Complaint was filed on March 24, 2022.

     Second, the United States commenced the Sussmann Action, a

criminal case, on September 16, 2021. The Sussmann Action’s indictment

overlaps with the Alfa Bank-related allegations in the Amended

Complaint. This indictment outlines many of the facts surrounding the

coordinated efforts between Appellee Sussmann and Appellee Joffe to

falsely implicate President Trump, including Sussmann’s numerous

meetings, conferences, and communications with other RICO Appellees

and the billing of his time to the Clinton Campaign and the DNC.

Compare Doc. 237.3 - ¶¶ 4, 9, 14, 19, 20, 24–27, 29–39; with Doc. 177 - ¶¶

175–84, 195–97, 206, 224, 242. It also includes allegations regarding

Sussmann’s attempts to leak the false allegations through the media.

Compare Doc. 237.3 - ¶¶ 1, 2, 22, 25, 34–37; with Doc. 177 - ¶¶ 174–76,

184, 191, 232.

     Moreover, the indictment includes Sussmann’s proffering of false

statements to the FBI and the CIA, compare Doc. 237.3 - ¶¶ 3–7, 24, 26–

28, 30–33, 39–44, 46; with Doc. 177 - ¶¶ 172, 198, 204–17, 297–311; and

Sussmann’s drafting of the various misleading and falsified ‘white


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papers’ which were ultimately provided to the FBI and the CIA, compare

Doc. 237.3 - ¶¶24, 26–27, 30; with Doc. 177 - ¶¶ 172, 184, 193–94, 198,

201, 204–17, 297–311.

     The Sussmann indictment is also littered with references to the

other RICO Defendants. It alleges they all worked together to carry out

a joint conspiracy—a theory that was crystalized in a later filing in the

action. See Doc. 237.4, United States v. Sussmann, case no. 1:21-cr-

00582-CRC, Government’s Motion In Limine, Doc. 61, (D.D.C April 4,

2022) at Pg. 19 (stating that the “evidence, public information, and

expected testimony clearly establishes by a preponderance of evidence

that [Sussmann] and [Joffe] worked in concert with each other and with

agents of the Clinton Campaign to research and disseminate the [Alfa

Bank] allegations.”); see also id. at Pg. 32 (noting a “common plan and

mutual coordination among” Fusion GPS, Joffe, Sussmann, and the

Clinton Campaign.).

     “Suspension of the running of the statute of limitations pending

resolution of the government action may not be made to turn on whether

the United States is successful in proving the allegations of its

complaint.” Leh, 382 U.S. at 65. Therefore, even though Sussmann was


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acquitted, the Sussmann Action qualifies as a “civil or criminal

proceeding . . . instituted by the United States” tolling President Trump’s

RICO statute of limitations from the date of its filing—September 16,

2021—through the termination of that case, after the filing of this action.

     Accordingly, whether through equitable tolling or 15 U.S.C. § 16(i),

President Trump’s RICO action was timely filed, and the district court’s

ruling as to the statute of limitations should be reversed.


        b.    The district court erred in finding President Trump’s RICO
              and RICO conspiracy claims failed to state a claim.

     A complaint must “give Defendant fair notice of what the . . . claim

is and the grounds upon which it rests.” Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 555 (2007). Although a complaint need not include detailed

factual allegations, to survive a motion to dismiss, “a complaint must

contain sufficient factual matter, accepted as true, to ‘state a claim to

relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (quoting Twombly, 550 U.S. at 570). A claim is facially plausible

“when Plaintiff pleads factual content that allows the court to draw the

reasonable inference that Defendant is liable for the misconduct alleged.”




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Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 556). President

Trump satisfied this threshold.

     The terms of the civil RICO statute must be “liberally construed to

effectuate its remedial purposes.” Boyle v. United States, 556 U.S. 938,

944 (2009) (quoting § 904(a), 84 Stat. 947, note following 18 U.S.C. §

1961). It is an “aggressive initiative” for fighting crime. Sedima, S.P.R.L.

v. Imrex Co., 473 U.S. 479, 498 (1985).

     There are three elements to a RICO claim: “(1) a violation of 18

U.S.C. § 1962; (2) injury to business or property; and (3) that the violation

caused the injury.” Avirgan v. Hull, 932 F.2d 1572, 1577 (11th Cir. 1991).

As discussed below, Appellees violated two sections of 18 U.S.C. § 1962,

subsections “c” and “d.” Further, this harm occurred to President Trump’s

business and property, which caused President Trump injury.

Accordingly, President Trump properly alleged a claim for civil RICO,

and this Court should reverse the district court’s Order granting

Appellees’ motions to dismiss.




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           1.        Appellees violated section 1962(c).

     Appellees Clinton, Clinton Campaign, DNC, Perkins Coie, Elias,

Sussmann, Fusion GPS, and Joffe2 engaged in a pattern of racketeering

activity violating President Trump’s rights. 18 U.S.C. § 1962(c) makes it

“unlawful for any person employed by or associated with any enterprise

engaged in, or the activities of which affect, interstate or foreign

commerce, to conduct or participate, directly or indirectly, in the conduct

of such enterprise's affairs through a pattern of racketeering activity . . .

.” 18 U.S.C. § 1962(c). Subsection (c) includes four elements: “(1)

[defendants] operated or managed (2) an enterprise (3) through a pattern

(4) of racketeering activity that included at least two racketeering acts.”

Ray v. Spirit Airlines, Inc., 836 F.3d 1340, 1348 (11th Cir. 2016).


                A.     The enterprise existed.

     An enterprise is “any individual, partnership, corporation,

association, or other legal entity, and any union or group of individuals



     2  The district court erred in holding that it did not have personal
jurisdiction over Appellee Joffe. The district court had personal
jurisdiction pursuant to RICO’s nationwide service provision because he
had minimum contacts with the United States. Prou v. Giarla, 62 F.
Supp. 3d 1365, 1373 (S.D. Fla. 2014).

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associated in fact although not a legal entity.” 18 U.S.C. § 1961(4). An

“association in-fact" enterprise consists of “any union or group of

individuals associated in fact although not a legal entity.” Id. This

encompasses any “group of persons associated together for a common

purpose of engaging in a course of conduct.” Boyle, 556 U.S. at 944.

     To establish the existence of an association in-fact enterprise, a

plaintiff need only show the enterprise has three structural features: “[1]

a purpose, [2] relationships among those associated with the enterprise,

and [3] longevity sufficient to permit these associates to pursue the

enterprise’s purpose.” Id. at 946. Appellants adequately pleaded each of

these features.

     The district court erred when it found Appellant did not adequately

show Appellees acted with an illegal purpose. Doc. 267 - Pg. 42. President

Trump sufficiently pleaded the Enterprise had a purpose, identified with

particularity as the “common, unlawful goal of corruptly and wrongfully

harming Plaintiff’s political reputation, damaging his electability for the

2016 Presidential Election and subsequent elections, impeding his ability

to govern effectively, and otherwise sabotaging his political career

through deceptive, criminal and fraudulent means, including, but not


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limited to, falsely implicating Plaintiff, the Trump Campaign, and the

Trump Administration as colluding with Russia.” Doc. 177 - ¶ 531.

     Further, the Amended Complaint plausibly alleged each of the

RICO Appellees shared this goal. Indeed, President Trump affirmatively

pleaded the RICO Appellees shared in the Enterprise’s common purpose

and had the requisite awareness of the Enterprise’s racketeering

activities. See, e.g., id. at ¶¶ 535, 568–69, 572–73, 577, 621–27; see also

FED. R. CIV. P. 9(b) (“Malice, intent, knowledge, and other conditions of a

person's mind may be alleged generally”). Moreover, the Amended

Complaint set forth many facts on this point. See, e.g., Doc. 177 - ¶¶ 102,

162, 163, 165, 196, 175–84, 195–97, 199, 206, 224, 242, 245–54, 307

(Clinton); ¶¶ 50, 59, 239, 307 (DNC); ¶¶ 76–83, 98, 124, 136–39, 172, 307

(Perkins Coie, Elias, and Sussmann); ¶¶ 72, 76, 95, 176, 239, 244, 273

(Fusion GPS); ¶¶ 132, 136–39, 141, 172, 187, 188, 309–11, 324 (Joffe).

Therefore, the Amended Complaint detailed the relationships among the

RICO Appellees and their illegal purpose.


              B.    Obstruction of Justice is a predicate act.

     A “pattern of racketeering activity” requires “at least two acts of

racketeering activity, one of which occurred after the effective date of [the

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RICO statute] and the last of which occurred within ten years (excluding

any period of imprisonment) after the commission of a prior act of

racketeering activity.” 18 U.S.C. § 1961(5). “[A]cts of racketeering

activity” include “any act which is indictable under any of the

[enumerated statutory provisions].” 18 U.S.C. § 1961(1). These “acts of

racketeering activity” are known as “predicate acts.” H.J. Inc. v. Nw. Bell

Tel. Co., 492 U.S. 229, 236 (1989). The Amended Complaint Alleged

Appellees obstructed justice in violation of 18 U.S.C. § 1512 and

committed wire fraud in violation of 18 U.S.C. § 1343. In assessing

President Trump’s obstruction of justice claims, the district court erred

when it concluded (1) an official proceeding was required and (2)

Appellees’ conduct did not violate 18 U.S.C. § 1512(b)(3).

     Section 1512(b)(3) criminalizes “misleading conduct toward another

person, with intent to . . . hinder, delay or prevent the communication to

a law enforcement officer . . . relating to the commission or possible

commission of a federal offense.” 18 U.S.C. § 1512(b)(3). This provision

“criminalizes the transfer of misleading information which actually

relates to a potential federal offense.” United States v. Ronda, 455 F.3d

1273, 1288 (11th Cir. 2006) (citing United States v. Veal, 153 F.3d 1233,


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1252 (11th Cir. 1998)). Importantly, § 1512(b)(3) “does not require that a

defendant’s misleading conduct relate in any way either to an ‘official

proceeding’ or even to a particular ongoing investigation.” Id. at 1288; see

also 18 U.S.C. § 1512(b)(3) (unlike other provisions of § 1512, the

language “official proceeding” is not contained in section (b)(3)). In this

way, § 1512 (b)(3) applies broadly to “ensur[e] that transfers of

information to federal law enforcement officers and judges relating to the

possible commission of federal offenses be truthful and unimpeded.” Id.

at 1286.

     President Trump alleged the RICO Appellees engaged in a

concerted plot to mislead and defraud federal authorities, made

numerous false and misleading statements to federal law enforcement

officers, withheld pertinent and relevant information, and provided

falsified and fabricated materials and records, including spoofed and

“user created” data, various white papers with deceptive analysis of said

data, and the fraudulent Steele Dossier. See, e.g., Doc. 177 - ¶¶ 94–123,

172-194, 204–25, 297–311. These actions constitute a predicate act

violating § 1512(b)(3). See Ronda, 455 F.3d at 1290 (“The fabrication of

evidence to mislead federal investigators violates § 1512(b)(3).”); United


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States v. Ronga, 682 Fed. App’x 849, 855 (11th Cir. 2017) (noting §

1512(b)(3) “criminalizes attempts to provide misleading information or

inhibit truthful information from being transferred.”); see also 18 U.S.C.

1515(a)(3)(A),(C),(D) (“[M]isleading conduct” is defined to include

“knowingly making a false statement” and “knowingly submitting or

inviting reliance on a writing or recording that is false, forged, altered, or

otherwise lacking in authenticity. . . [or] other object that is misleading

in a material respect.”).

     Accordingly, the district court erred when it found the statements

made to law enforcement officials themselves do not apply. Doc. 267 - Pg.

33. In United States v. Veal, this Court found the language in § 1512(b)(3)

is broad and “another person” can encompass state investigators. 153

F.3d 1233, 1246 (11th Cir. 1998), rev’d on other grounds. Following this

same logic, communicating misleading information to federal law

enforcement officials violates § 1512(b)(3). Thus, the Amended Complaint

sufficiently alleged the RICO Appellees violated 18 U.S.C. § 1512.


               C.    Wire Fraud is also a predicate act.

     “[W]ire fraud occurs when a person (1) intentionally participates in

a scheme to defraud another of money or property and (2) uses the . . .

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wires in furtherance of that scheme.” American Dental Ass’n v. Cigna

Corp., 605 F.3d 1283 (11th Cir. 2010) (citing Pelletier v. Zweifel, 921 F.2d

1465, 1498 (11th Cir.1991)). The district court erred when it found

Appellants’ wire fraud allegations were not pled under the heightened

pleading standard, that the claim is not allowed because the object of the

fraud wasn’t to obtain money or property, and that President Trump does

not have standing for allegations that Appellees defrauded the media.

Doc. 267 - Pg. 38.

     “The law in the Eleventh Circuit makes clear that a defendant

‘schemes to defraud’” where “he schemes to ‘depriv[e] [someone] of

something of value by trick, deceit, chicane or overreaching.’” United

States v. Takhalov, 827 F.3d 1307, 1312–13 (11th Cir. 2016). “All that is

necessary is that the scheme be reasonably calculated to deceive; the

intent element of the crime is shown by the existence of the scheme.”

United States v. Bradley, 644 F.3d 1213, 1239 (11th Cir. 2011).

     The Amended Complaint detailed the RICO Appellees’ fraudulent

scheme. While wire fraud must be pleaded with particularity in

accordance with the heightened pleading standard of FRCP 9(b), “[t]he

application of the rule, however, must not abrogate the concept of notice


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pleading,” Durham v. Bus. Mgmt. Assocs., 847 F.2d 1505, 1511 (11th Cir.

1988) (citing Friedlander v. Nims, 755 F.2d 810, 813 n. 3 (11th Cir.

1985)); thus, “[m]alice, intent, knowledge, and other conditions of a

person’s mind may be alleged generally,” FED. R. CIV. P. 9(B). Further,

courts apply Rule 9(b) less stringently when specific “factual information

[about the fraud] is peculiarly within Defendant’s knowledge or control.”

Hill v. Morehouse Med. Assocs., Inc., 2003 WL 22019936, at *3 (11th Cir.

Aug. 15, 2003) (citing United States ex rel. Stinson, Lyons, Gerlin &

Bustamante, P.A. v. Blue Cross Blue Shield of. Ga. Inc., 755 F. Supp.

1040, 1052 (S.D. Ga. 1990)).

      President Trump specifically identified statements, documents,

and/or misrepresentations made by each RICO Appellee in furtherance

of the Enterprise’s fraudulent scheme, including, see Doc. 177 - ¶¶ 583(f),

(j), (q), (r), (u), (v), (w), (y), (aa), (bb), (ee), (ff), (gg) (Clinton); ¶¶ 583(d),

(e), (dd) (DNC); ¶¶ 583(j), (k), (m) (Perkins Coie); ¶ 583(j) (Elias); ¶¶

583(k), (m) (Sussmann); ¶¶ 583(a), (b), (c), (n), (o), (p), (s), (t), (x) (Fusion

GPS).    In    total,   President     Trump        identified    thirty-three     wire

transmissions sent by the RICO Appellees in furtherance of their




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fraudulent scheme, each pleaded with the requisite particularity,

including the time and place made and the identity of the actor.

     Further, contrary to the district court’s determination that the

scheme must be to obtain property, this Court recognizes the wire fraud

statute includes depriving another of property. Bradley, 644 F.3d at 1240

(stating a “‘scheme to defraud’ . . . signifies the deprivation of something

of value by trick, deceit, chicane or overreaching.”) (quoting United States

v. Pendergraft, 297 F.3d 1198, 1208–09 (11th Cir. 2002)).

     Here, President Trump properly alleged the RICO Appellees sought

to “depriv[e] Plaintiff of tangible and/or intangible property, including,

without limitation, causing loss of political and/or business reputation,

loss of business opportunities, loss of competitive position, and/or loss of

business revenue, loss of goodwill, and/or loss of contractual relations.”

Doc. 177 - ¶ 578. These types of losses are adequately construed as

‘deprivation of property’ within the context of a wire fraud claim. See,

e.g., Mid Atlantic Telecom., Inc. v. Long Distance Serv., Inc., 18 F.3d 260,

264 (4th Cir. 1994) (recognizing “lost customers and lost revenue” as valid

wire fraud injury); Procter & Gamble Co. v. Amway Corp., 242 F.3d 539,

565 (5th Cir. 2001) (recognizing “injuries to competitive position” as valid


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wire fraud injury) (citing Summit Props. v. Hoechst Celanese Corp., 214

F.3d 556, 561 (5th Cir. 2000)); Alix v. McKinsey & Co., 23 F.4th 196, 204–

06 (2d Cir. 2022) (recognizing the loss of potential clients and contractual

relations as cognizable RICO injury); Lewis v. Lhu, 696 F. Supp. 723, 727

(D.D.C. 1988) (recognizing reputational damages as valid wire fraud

injury); Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639, 649–50

(2008) (recognizing “lost valuable liens” as valid wire fraud injury; also,

contemplating “[if] an enterprise that wants to get rid of rival businesses

mails misrepresentations about them to their customers and suppliers .

. . [and] the rival businesses lose money as a result of the

misrepresentations, it would certainly seem that they were injured in

their business ‘by reason of’ a pattern of mail fraud[.]”).

     Additionally, while Appellees sent the fraudulent statements to the

media, President Trump was the target of the statements. His loss was

“a foreseeable result of someone’s reliance on the misrepresentation.”

Bridge, 553 U.S. at 656 (emphasis in the original). Therefore, President

Trump has standing.

     Accordingly, the Amended Complaint sufficiently alleged the RICO

Appellees violated 18 U.S.C. § 1343.


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              D.    There was continuity establishing a pattern.

     “To successfully allege a pattern of racketeering activity, plaintiffs

must allege: (1) defendants committed two or more predicate acts within

a ten-year time span; (2) the predicate acts were related to one another;

and (3) the predicate acts demonstrated criminal conduct of a continuing

nature.” Jackson v. BellSouth Telecom., 372 F.3d 1250, 1264 (11th Cir.

2004).

     As detailed above, there were two predicate acts within the last ten

years. The predicate acts were related to the Enterprise’s purpose,

damaging President Trump, and his presidential campaign. Further,

President Trump is once again a candidate for President. Thus, it is no

longer speculative but likely these acts will continue. Doc. 267 - Pg. 40.

     Continuity is a “closed and open-ended concept, referring either to

a closed period of repeated conduct, or to past conduct that by its nature

projects into the future with a threat of repetition.” H.J. Inc. v. Nw. Bell

Tel. Co., 492 U.S. 229, 241 (1989). To plead an open-ended continuity, a

plaintiff must allege an enterprise poses a continuing threat, which can

be accomplished by showing “the racketeering acts themselves include a

specific threat of repetition extending indefinitely into the future” or “the


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predicate acts or offenses are part of an ongoing entity’s regular way of

doing business.” H.J. Inc., 492 U.S. at 242. Here, President Trump

pleaded the RICO Appellees have not relented in their efforts to tarnish

his reputation. Given President Trump’s decision to run for President,

there is a significant risk Appellees will continue to engage in this

conduct.

     To plead closed-ended continuity, a plaintiff must allege defendants

engaged in a “series of related predicates extending over a substantial

period of time.” American Dental Ass’n v. Cigna Corp., 605 F.3d 1283,

1291 (11th Cir. 2010). Here, President Trump’s wire fraud claim alone

spans more than six years, extending from May 14, 2016, when Fusion

GPS commenced its efforts to deceive a Slate journalist, Franklin Foer,

into writing an article about the purported Trump-Alfa Bank connection

(the article would eventually be written and become the subject of a

Clinton Campaign press release and numerous misleading Clinton

tweets), see Doc. 177 - ¶ 583(a), through February 16, 2022, when

Appellee Clinton deliberately attempted to mislead the public and

further the Enterprise’s fraudulent scheme through a Tweet, stating that




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President Trump is trying to invent a “fake scandal” to distract from “real

ones,” id. at ¶ 583(gg).

      Additionally, the last known act of obstruction of justice, which

occurred on November 16, 2017, when the RICO Appellees conspired with

Appellees Steele and Danchenko to make false statements and

misrepresentations to the FBI, provides an eighteen-month timeframe

that is sufficient to satisfy the continuity requirement. See Magnifico v.

Villanueva, 783 F. Supp. 2d 1217, 1229 (S.D. Fla. 2011).

      Thus, President Trump properly pleaded both types of continuity.

Accordingly, the district court erred in asserting President Trump did not

establish a pattern of racketeering activity.


            2.    Appellees violated section 1962(d).

      Appellees Clinton, Clinton Campaign, DNC, Perkins Coie,

Sussmann, Dolan, Sullivan, Podesta, Mook, Reines, Elias, Fusion GPS,

Simpson, Fritsch, Nellie Ohr, Bruce Ohr, Orbis Ltd., Steele, Danchenko,

Neustar, Inc., Neustar Security Services, and Joffe, conspired3 under 18




      The district court had personal jurisdiction over Appellees Dolan
      3

and Orbis Ltd. for the same reasons it had personal jurisdiction over
Appellee Joffe. Supra, n.2.
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U.S.C. § 1962(d). Under RICO subsection (d), a plaintiff must allege “the

conspirators agreed to participate directly or indirectly in the affairs of

an enterprise through a pattern of racketeering activity.” In re Managed

Care Litig., 298 F. Supp. 1259, 1280 (S.D. FL. 2003).

     “A plaintiff can establish a RICO conspiracy claim in one of two

ways: (1) by showing that Defendant agreed to the overall objective of the

conspiracy; or (2) by showing that Defendant agreed to commit two

predicate acts.” American Dental Assn., 605 F.3d at 1293 (citation

omitted). Circumstantial evidence may be used, including “inferences

from the conduct of the alleged participants or from circumstantial

evidence of a scheme.” United States v. Sylvestri, 409 F.3d 1311, 1328

(11th Cir. 2005).

     While the district court did not expressly address subsection (d),

Appellants met the requisite elements. As discussed above, Appellees

committed two predicate acts, and they conspired in doing so. See Doc

177 - ¶¶ 95, 99, 105, 226, 233, 239, 272, 273, 291 (Steele); ¶¶ 109, 331,

335, 488 (Danchenko); ¶¶ 141, 165, 167, 265, 313 (Sullivan); ¶¶ 276, 313,

496, 498–501 (Podesta); ¶¶ 247, 248, 252 (Mook); ¶¶ 463, 497 (Reines);

¶¶ 88, 89, 103, 169, 170, 284, 286 (Nellie and Bruce Ohr); ¶¶ 185, 186,


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328 (Neustar Inc. and Neustar Security Services). Thus, President

Trump sufficiently stated a cause of action under RICO subsection (d).


           3.    Appellees caused injury to President Trump’s business
                 and property.

     RICO provides a private cause of action for “[a]ny person injured in

his business or property by reason of a violation of Section 1962 of this

chapter.” 18 U.S.C. § 1964(c). To have standing under Section 1964(c), a

civil RICO plaintiff must show: (1) his alleged harm qualifies as an injury

to his business or property; and (2) the harm was “by reason of” the RICO

violation, including showing proximate causation. Holmes v. Sec.

Investor Prot. Corp., 503 U.S. 258, 268 (1992). Plaintiff has satisfied both

requirements. The district court erroneously stated, “Plaintiff has not

alleged facts of any specific business opportunities, revenue, or goodwill

lost because of Defendants’ actions.” Doc. 267 - Pg. 43.

     “Proximate cause . . . is a flexible concept that does not lend itself

to ‘a black-letter rule that will dictate the result in every case.’” Bridge,

553 U.S. at 654 (citation omitted). To effectively plead causation under

RICO, a plaintiff is required only to allege “some direct relation” between

the injury asserted and the injurious conduct. Corcel Corp. v. Ferguson


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Enters., Inc., 551 F. App’x 571, 576 (11th Cir. 2014). It is only necessary

to plead defendants’ “conduct was a substantial factor in the sequence of

responsible causation.” Id.

     Here, President Trump asserted, “[a]s a direct and proximate result

of the RICO Defendants’ racketeering activity described herein,

numerous unfounded investigations, including the FBI’s Crossfire

Hurricane investigation and its full-field Alfa Bank investigation,

numerous     congressional    investigations,          and     Special    Counsel

investigations were commenced; countless false, damaging, and

defamatory articles and media stories of all types (televisions, radio,

internet, etc.) were published, resulting in the widespread dissemination

of false, damaging and defamatory accusations of Plaintiff’s purported

collusion with Russia which became years-long headline story that

irreparable, unjustly and permanently tarnished Plaintiff’s political

reputation.” Doc. 177 - ¶ 614. Further, President Trump alleged he

suffered at least nine independent and distinct harms to his business and

property, including: (i) “loss of political []reputation”; (ii) “loss of []

business reputation”; (iii) “loss of existing and future business

opportunities”; (iv) “loss of competitive position”; (v) “loss of business


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revenue”; (vi) “loss of goodwill”; (vii) “loss of trade secrets”; (viii) “loss of

contractual relations”; and (ix) “defense costs, legal fees, and related

expenses incurred in connection with his effort to defend against the

RICO Defendants’ actions and the various federal investigations and/or

official proceedings which arose therefrom.” Id. at ¶¶ 615–16.

      Additionally, the Amended Complaint set forth numerous facts

indicating   Appellees’    conduct     was        the   driving        factor   in   the

commencement of various federal investigations, which was a driving

factor in President Trump’s injuries. See, e.g., Doc. 177 - ¶ 158 (alleging

that Steele began sending the Dossier to the FBI on July 5, 2016, mere

weeks before Crossfire Hurricane was commenced); id. at ¶ 204–14, 343

(alleging that the Alfa Bank ‘full field investigation’ launched four days

after Sussmann met with Jim Baker); id. at ¶ 226 (alleging Inspector

General Michael Horowitz’s finding that the Steele Dossier was relied

upon in granting FISA warrants). In addition, Appellees’ misleading

statements to the media contributed to these investigations.

      Also, the Durham Report found the FBI was unsuccessful in finding

any evidence of Russian collusion until the false allegations in the Steele

dossier, which largely came from Appellee Danchenko. Durham Report


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at Pgs. 10–11. The Steele Dossier, in part, triggered and sustained

multiple federal investigations. Id. at Pg. 18.

     Accordingly, President Trump properly asserted standing under

RICO by showing an injury to his business and property caused by

Appellees. Therefore, President Trump successfully pleaded two

sufficient counts of RICO violations and respectfully requests this Court

reverse the district court’s Order dismissing Counts I and II of the

Amended Complaint.


        c.    The district court erred in dismissing President Trump’s
              injurious falsehood claim.

     The district court erred in dismissing President Trump’s injurious

falsehood claim. An injurious falsehood claim requires: (1) a falsehood;

(2) published or communicated to a third party; (3) Defendant knew the

falsehood would likely induce others not to deal with Plaintiff; (4) the

falsehood played a material and substantial part in inducing others not

to deal with Plaintiff; and (5) special damages. Bothmann v. Harrington,

458 So. 2d 1163, 1168 (Fla. 3d DCA. 1984). “Plaintiff must also allege

damages as a result of the communicated falsehood.” Arthrex, Inc. v. W.




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Coast Med. Res., LLC, 2015 WL 12844946, at *8 (M.D. Fla. Nov. 25,

2015).

      The district court found (1) the statute of limitations ruled out most

of the statements, except for two made by Appellee Clinton, (2) President

Trump did not have injury because he expressly decided to forgo

reputational damages and damage to his political career is not an injury

to property, (3) President Trump failed to plead that the statements were

false, and (4) the First Amendment protects Appellees’ statements. Doc.

267 - Pgs. 43-49.

      First, as discussed above, President Trump’s claims were equitably

tolled. Still, Appellee Clinton made two statements within the limitations

period. Id. at Pg. 45. Second, President Trump alleged that through

Appellees’ lies, he had “been injured in his business and property and has

incurred and will continue to incur, significant damages, losses, and

deprivation of tangible and intangible property, including but not limited

to loss of political and/or business reputation, loss of business

opportunities, loss of competitive position, loss of business revenue, loss

of goodwill, loss of trade secrets, and/or loss of contractual relations.” Doc.

177 - ¶ 664. Further, as a special damage, he was forced to pay legal fees.


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See Horgan v. Felton, 123 Nev. 577, 586 (2007). Third, President Trump

properly alleged that the statements were knowingly false. Doc. 177 - ¶¶

501, 583, 673, 676, 689. Fourth, the First Amendment does not protect

Appellees’ statements because, as President Trump properly pled, they

were made with actual malice. See Fridovich v. Fridovich, 598 So. 2d 65,

69 (Fla. 1992); Doc. 177 - ¶¶ 635-652.

        Thus, President Trump properly stated a claim for injurious

falsehood. Accordingly, President Trump respectfully requests this Court

reverse the district court’s Order dismissing Count III for Injurious

Falsehood as to Appellees Clinton, Sullivan, Schultz, Danchenko,

Sussmann, and Steele.


  II.     The district court erred in imposing sanctions against
          Appellants.

        The arguments above amply demonstrate that President Trump

advanced     legitimate,    good   faith        arguments,      including    for   the

modification and extension of existing law. Accordingly, the district court

made a clear error in judgment and abused its discretion in finding that

Appellants acted in bad faith and in imposing almost $1 million in




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inherent authority sanctions. Additionally, the district court abused its

discretion in granting Rule 11 sanctions to Appellee Dolan.


        a.    Imposition of sanctions under the district court’s inherent
              authority violated due process and was an abuse of
              discretion.

     On January 19, 2023, the district court issued sanctions under its

inherent authority, on behalf of 18 defendants. Doc. 302. Sanctions issued

under inherent authority of the court trigger due process protections of

fair notice and hearing—protections that were not afforded. See

Donaldson v. Clark, 819 F.2d 1551, 1559-60 (11th Cir. 1987). Fair

notice—a fundamental due process requirement, even for basic Rule 11

sanctions—provides litigants an opportunity to correct or otherwise

address supposedly offending behavior, to amend deficient pleadings, or

to understand the reasoning behind a court’s belief that they might have

acted in bad faith. Id. In this case, the district court did not even hint at

imposing $1 million sanctions until its Order granting dismissal of the

entire case, when there was no off-ramp and no chance to cure.

     Not only did the district court abuse its discretion by violating due

process, it also made clear errors of judgment in its politicized analysis



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and conclusions, including its findings of bad faith and its references to

President Trump’s litigation in other courts.


           1.    Lack of fair notice was abuse of discretion.

     Fair notice is a fundamental due process requirement, even for

basic Rule 11 sanctions. See Donaldson, 819 F.2d at 1559–60. This

protection is particularly important where the court issues sanctions

under its inherent powers, which are a drastic remedy with the potential

for abuse, and “must be exercised with restraint and discretion.” See

Roadway Express, Inc. v. Piper, 447 U.S. 752, 767 (1980); Mroz, 65 F.3d

at 1575 (quoting Chambers v. NASCO, Inc., 501 U.S. 32, 41 (1991)). “Due

process requires that the attorney (or party) be given fair notice that his

conduct may warrant sanctions and the reasons why.” In re Mroz, 65 F.3d

at 1576.

     When imposing sanctions, “[a] district judge should not await the

aggregation of what he considers multiple acts of misconduct and then

levy an aggregated sanction without at least warning the attorneys at

the time of each act or reserving decision upon timely requests by

opposing counsel.” Riddle v. Egensperger, 266 F.3d 542, 556 (6th Cir.

2001) (citing In re Ruben, 825 F.2d 977, 990 (6th Cir. 1987)).

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     In this case, other than Appellee Dolan, whose Rule 11 sanctions

motion was far narrower (as addressed below), none of the underlying

Defendants provided any notice to President Trump of their intent to

seek sanctions prior to the end of the case, nor did the district court.

Notably, when these Defendants (other than Dolan) filed their motions

for sanctions, they conceded that they were precluded from seeking Rule

11 sanctions by the safe-harbor provision. Doc. 280 - Pg. 1, n.1. Under the

safe harbor provision, “a party cannot delay serving its Rule 11 motion

until conclusion of the case.” Peer v. Lewis, 606 F.3d 1306, 1313 (11th

Cir. 2010). Instead, Defendants asked for sanctions under three other

theories—28 U.S.C. § 1927, the court’s inherent authority, and the

Defend Trade Secrets Act—while also suggesting that the court could

impose Rule 11 sanctions on its own initiative. Doc. 280 - Pg. 1.

     If the court acts on its own under Rule 11, without a properly

noticed Rule 11 motion from a party, it must meet a higher standard—

akin to contempt—while also providing sufficient notice. Kaplan v.

DaimlerChrysler, A.G., 331 F.3d 1251, 1255 (11th Cir. 2003).

     Here, the district court declined to impose Rule 11 sanctions on its

own initiative, purportedly because Rule 11 was “backward looking,


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limited to pleading and motion abuse.” Doc. 302 - Pg. 6. And yet, when

boiled down to its essentials, the district court’s sanctions Order is largely

an attack on the Amended Complaint and its factual allegations and legal

theories. The district court essentially conducted a Rule 11 analysis and

used its inherent authority analysis as an “end run” around the notice

required.

     In Chambers, the Supreme Court contemplated that use of the

court’s inherent power of sanctions at the end of litigation could be an

impermissible “end run” around Rule 11 sanctions. See Chambers, 501

U.S. at 56. Under the extreme facts of that case, the Court did not find

that the court abused its discretion in using its inherent powers because

the sanctioned parties received numerous, timely warnings from the

court and opposing party that their conduct was sanctionable, noting “the

District Court’s reliance on the inherent power did not represent an end

run around the notice requirements of Rule 11.” Id. Specifically, in one of

the early hearings before the Chambers district court, the district court

warned the appellant his “conduct had been unethical.” Id. at 37.

Appellant ignored the court’s orders, resulting in civil contempt

proceedings. Chambers, 501 U.S. at 38. The appellant’s conduct


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continued, scheduling meritless depositions that the court canceled sua

sponte. Id. At a status conference, the district court again warned the

appellant and his counsel the conduct “would not be tolerated” and even

provided a scholarly article on sanctions. Id. at 38. And yet, the appellant

continued to defy the court’s orders, prompting a third civil contempt

motion. Id. at 39. After the appellant obtained new counsel, the district

court warned the new attorney that “further sanctionable conduct would

not be tolerated.” Id. The appellant once again defied the court’s orders.

Id. Ultimately, because of this repeated conduct and the repeated

warnings on the record, the district court issued a sanctions award of

$996,644.65 using its inherent authority, in part. Id. at 40. The Supreme

Court upheld the use of the district court’s inherent power to impose

these sanctions in part because the repeated warnings constituted

adequate notice. Id. at 56.

     Here, no such warnings, adequate notice, or opportunity to cure was

given. Despite citing Chambers multiple times, the district court did not

acknowledge the notice requirements. It simply issued sanctions under

its inherent authority in a wrongful end run around the required notice

and warnings for Rule 11 sanctions.


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     The district court tacitly admits, as it must, that there was no

mention of sanctions on the record until the Dismissal Order on

September 8, 2022. Further, Appellees’ various motions to dismiss did

not deal with sanctions. By the time any mention of sanctions was made,

save for Appellee Dolan’s Rule 11 sanctions notice, litigation in this

matter had concluded. Doc. 302 - Pg. 3.

     The only objectionable conduct of Appellants that the district court

identified that occurred after dismissal of the case was on September 10,

2022, when Ms. Habba sat for an interview with Sean Hannity. Id. This

interview was outside of the purview of the judicial system after litigation

concluded. Even if her interview was somehow problematic, the district

court’s brief reference to potential sanctions in the September 8, 2022,

Order certainly did not provide her any kind of fair notice that her

constitutionally protected speech would be used against her and her

client in a $1 million sanctions Order.

     After dismissal of the case, there was no off-ramp; no way to cure

the supposed bad faith. This is the very reason for the notice

requirements of Rule 11, and presumably why the district court chose to

invoke its far more drastic remedy of inherent authority sanctions. Under


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the facts of this case, that choice, without notice from the court of

regarding its belief that the case was frivolous and pursued in bad faith,

was an end run around notice requirements and was an abuse of

discretion.


              2.   Lack of evidentiary hearing was abuse of discretion.

     In addition to the lack of notice, the district court erred by not

holding a hearing, which is a further due process violation when issuing

sanctions under the court’s inherent authority. Eagle Hosp. Physicians,

LLC v. SRG Consulting, Inc., 561 F.3d 1298, 1306 n.6 (11th Cir. 2009)

(citing Chambers as requiring hearings before issuing sanctions); Mroz,

65 F.3d at 1576 (remanding for evidentiary hearing on finding of bad

faith); accord Amlong, 500 F.3d at 1242 (requiring a hearing for attorneys

threatened with § 1927 sanctions). This is exemplified in the unpublished

Eleventh Circuit case of Campos v. City of Naples, where this Court

reversed the district court for imposing sanctions without a hearing.

Campos v. City of Naples, 202 Fed. Appx. 381, 385 (11th Cir. 2006).

     In this case, Appellants expressly requested an evidentiary

hearing. Doc. 285 - Pgs. 13–14. Given the reputation of a law firm and its

attorneys were at stake, it was error to refuse to hold an evidentiary

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hearing before imposing such significant sanctions. As such, this Court

should reverse the district court’s inherent sanctions Order from January

19, 2023. In the alternative, this Court should remand this case for an

evidentiary hearing on sanctions.


           3.   The district court abused its discretion in finding that
                Appellants acted in bad faith.

     The district court also erred in finding Appellants acted in bad

faith. Before a court can impose sanctions against a lawyer under its

inherent power, it must find the lawyer’s conduct “constituted or was

tantamount to bad faith.” Durrett v. Jenkins Brickyard, Inc., 678 F.2d

911, 918 (11th Cir.1982); see also Barnes v. Dalton, 158 F.3d 1212, 1214

(11th Cir.1998) (“The key to unlocking a court’s inherent power is a

finding of bad faith.”). “A finding of bad faith is warranted where an

attorney knowingly or recklessly raises a frivolous argument, or argues

a meritorious claim for the purpose of harassing an opponent. A party

also demonstrates bad faith by delaying or disrupting the litigation or

hampering enforcement of a court order.” Barnes, 158 F.3d at 1214

(internal quotations omitted).




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     Here, the district court’s bad faith finding centered on the

allegation that Appellants filed a shotgun pleading to “serve a political

purpose,” that contained false allegations, foreclosed by existing law. See

generally Doc. 302. The district court spent nine pages of its Order giving

what it considers examples of Appellants’ “shotgun pleading.” Id. The

claims by President Trump, however, are extremely complicated and the

attacks against him unprecedented. Even the most disciplined complaint

would need to contain substantial allegations. And, given the number of

people and organizations who have targeted President Trump while

President, the number of defendants is not evidence of bad faith, as each

was alleged to have been involved in the unprecedented attacks and

conspiracy alleged in the Amended Complaint. It was an abuse of

discretion for the district court to find that the complaint was a shotgun

pleading, much less that it indicated bad faith, in a case as far reaching

as this one.

     Additionally, Appellants did not knowingly make any false

allegations or with reckless disregard for their truth or falsity in any

pleadings. Appellants’ Amended Complaint was replete with citations

supporting their factual contentions and intended to rely on discovery to


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further flesh out these contentions. Moreover, Appellants largely

amended their Complaint to address the real-time developments in the

facts alleged. See, e.g., Doc. 177 - ¶¶ 17, 18, 22–24, 30, 32, 43, 59, 64–65,

91, 105–06, 122, 137, 140–46, 172–79, 180–82, 187–89, 280.

     Appellants emphatically stated in their opposition to sanctions that

they “engaged in good-faith efforts to substantiate the veracity of the

allegations contained in the Amended Complaint by sourcing to various

authorities supporting the underlying facts,” and they “pursued every

avenue of research which was available to them to verify the facts as

understood and legitimately believed by them.” Doc. 285 - Pg. 11. An

evidentiary hearing would have solidified Appellants’ good faith basis for

pleading each fact in this litigation. Instead, the district court improperly

weighed the evidence on its own based only on the briefing of the parties.

     Indeed, the deference owed to the trial court on abuse of discretion

review typically arises from the trial court’s ability to conduct fact-finding

and to see and evaluate testimony and evidence. See United States v.

Barton, 909 F.3d 1323, 1327, 1330–32, 1336 (11th Cir. 2018)

(emphasizing that in a case where the district court had conducted a two-

day, fact-intensive Daubert hearing, the deference owed to the fact-


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finding of the district court was particularly significant); see also Amlong,

500 F.3d at 1244–45 (noting that where a district court judge did not

conduct an evidentiary hearing on bad faith, he could not reject the

magistrate judge’s finding that there was none without conducting

another evidentiary hearing). In this case, the district court conducted no

fact-finding and did not view or evaluate any testimony or evidence.

     The newly released Durham Report highlights the district court’s

many clear errors of judgment in this regard. While that Report was

obviously not available to the district court at the time, many of the facts

contained therein had been publicly reported and were included in the

Amended Complaint. Additionally, they could have been further

explained or supported in an evidentiary hearing. Instead, the district

court called many of these allegations “absurd” or “frivolous” or mere

“political narrative,” despite the requirement to accept well pleaded

allegations as true. Akkasha v. Bloomingdales, Inc., No. 17-CIV-22376,

2020 WL 6820879, at *2 (S.D. Fla. July 20, 2020), report and

recommendation adopted, No. 17- CIV-22376, 2020 WL 6820878 (S.D.

Fla. Sept. 14, 2020) (citation omitted). The Durham Report underscores




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that the claims made in the Amended Complaint were not only plausible

but likely, and certainly not sanctionable.

     For example, the district court called it “implausible” and

“categorically absurd” that Appellee Comey would have conspired with

Appellee     Clinton    to   harm       President         Trump,      a    blatant

mischaracterization of the allegations in the Amended Complaint. Doc.

302 -Pg. 10; Doc. 177 - ¶¶161-170. The Durham Report, however, found

that at least some high-level FBI actors, central to the opening and

continuation of the Crossfire Hurricane investigation had a “clear

predisposition” against President Trump. Durham Report at Pg. 47. This

was, of course, public knowledge. The FBI rapidly opened its

investigation into President Trump’s campaign, during the height of his

campaign for President against Appellee Clinton, despite “not

possess[ing] any intelligence showing that anyone associated with the

Trump campaign was in contact with Russian intelligence officers at any

point during the campaign.” Id. at Pg. 59. In fact, the Report determined

the FBI’s investigation significantly relied on leads from President

Trump’s political opponents. Id. at Pg. 18. Again, this was public

knowledge.


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     Notably, it is now clear, based on the Durham Report, that Appellee

Comey was actually aware of intelligence on a Clinton campaign plan to

smear President Trump by associating him with Vladimir Putin, as early

as August 3, 2016, three days after the FBI opened the Crossfire

Hurricane investigation. Id. at Pg. 85. Based on the timeline of events, it

is likely that Appellee Comey knew about this prior to opening Crossfire

Hurricane, because (1) the CIA had received intelligence of the Clinton

scheme in late July, (2) that intelligence was provided to and reviewed

personally by CIA Director Brennan, (3) on July 28, 2020, Brennan

briefed President Obama on “intelligence relevant to the 2016

presidential election,” and (4) the next morning, July 29, 2020, Brennan

briefed Appellee Comey on his meeting with the President. Id. at Pg. 84.

While Brennan was non-committal in testimony as to whether he

discussed the Clinton intelligence at that meeting and with Appellee

Comey on July 29, 2020, it is certainly plausible that he did. Id. Much of

this was alleged in the Amended Complaint. See Doc. 177 - ¶¶ 161–70.

     Indeed, while the district court called it “categorically absurd” that

Appellee Comey would conspire with Appellee Clinton, given Appellee

Comey’s announcements before the 2016 election, the Durham Report


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found that there was disparate treatment in the way that the FBI

handled candidates Trump and Clinton. Specifically, the Report found

that the FBI acted considerably more favorably to Appellee Clinton’s

campaign than President Trump’s campaign. Id. at Pgs. 68–81. For

instance, the FBI provided defensive briefings to the Clinton campaign,

but not the Trump campaign. Id. at Pg. 298. Again, the district court did

not need the Durham Report to understand these mostly public facts, and

therefore it was error to find that the claims were “categorically absurd.”

     Next, the district court noted that the Crossfire Hurricane

investigation was opened “for an authorized purpose” and “with adequate

factual predication” Doc. 302 - Pg. 16. As the Durham Report states,

however, the FBI opened its Crossfire Hurricane investigation without

“any actual evidence of collusion.” Durham Report at Pg. 8. Further, as

already discussed, at least some actors central to the Crossfire Hurricane

investigation had a “clear predisposition” against President Trump. Id.

at Pg. 47. Accordingly, much of the content in the Durham Report

corroborates President Trump’s factual claims.

     Further, Appellants maintain their claims are supported by

existing precedent or, at a minimum, present a compelling argument for


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the extension of existing law. Appellants put forth good faith, reasonable

bases for the claims in this case. As discussed above, the case law is either

unsettled, or there is at least a reasonable request for an extension of the

law. “When assessing the frivolity of a non-prevailing [party’s] case,

courts ‘view the evidence in the light most favorable to [that party].’”

Akkasha v. Bloomingdales, Inc., No. 17-CIV-22376, 2020 WL 6820879, at

*2 (S.D. Fla. July 20, 2020), report and recommendation adopted, No. 17-

CIV-22376, 2020 WL 6820878 (S.D. Fla. Sept. 14, 2020) (citation

omitted). “When the applicable law is unsettled, attorneys may not be

sanctioned merely for making reasonable arguments for interpreting the

law.” Gust, Inc. v. Alphacap Ventures, LLC, 905 F.3d 1321, 1329 (Fed.

Cir. 2018) (citing Secs. Indus. Ass'n v. Clarke, 898 F.2d 318, 321–22 (2d

Cir. 1990)), abrogated on other grounds recognized by Mareno v. Rowe,

910 F.2d 1043, 1047 (2d Cir. 1990)).

     Here, the district court largely relied on its Dismissal Order in

determining Appellants’ claims were frivolous. Doc. 302 - Pg. 19. As

thoroughly briefed above, however, Appellants presented good faith

arguments in asserting the statute of limitations had not run as to the

RICO claim. Even if President Trump had failed to state a claim, “when


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a district court grants leave to amend a complaint and later finds, as it

often does, that an amended complaint continues to fail to state a claim,

the typical outcome is dismissal of the amended complaint, not an award

of sanctions against the litigant and his counsel for making an attempt.”

Harvey v. CNN, Inc., 48 F.4th 257, 280 (4th Cir. 2022).


           4.    The district court improperly considered litigation not
                 before it in a display of political bias.

     The district court improperly punished President Trump for

engaging in litigation outside of the Southern District of Florida. While

it cited two opinions from this Court in its attempt to justify its

consideration of President Trump’s litigation in other forums, these cases

are inapposite. Doc. 302 - Pg. 21. In Johnson v. 27th Avenue Caraf, Inc.,

the court only analyzed the “similar cases brought by these men.” 9 F.4th

1300, 1313–14 (11th Cir. 2021). Specifically, appellants in 27th Avenue

developed a scheme centered on similar facts to secure multiple

settlements. 27th Avenue, 9 F.4th at 1313-14. In O’Neal v. Allstate

Indem. Ins. Co. Inc., the court looked at litigation initiated by a pro se

plaintiff responsible for “’relitigating imagined disputes that have

already been dismissed in another forum’ and moving for sanctions


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against any person or entity who dares to oppose his frivolous claims.”

2021 WL 4852222, at *5 (11th Cir. Oct. 19, 2021).

     Here, the district court cited four other cases in which President

Trump is or was involved. All four cases are focused on different issues

with distinct factual grounds; each brought for different good faith

reasons. As the district court acknowledged, all four of these cases are

still pending in some capacity before each respective court. For the

district court to say these cases were frivolous, “using the courts as a

stage set for political theater and grievance,” Doc. 302 - Pg. 34, before the

cases’ final adjudication, highlights a bias against President Trump, any

case he brings to any court, and any attorney representing him.

     Further, and injudiciously, the Order called President Trump a

“mastermind of strategic abuse of the judicial process.” Doc. 302 - Pg. 6.

Despite the requirement to accept the factual allegations in the Amended

Complaint as true, the district court said it was implausible and a “story

without regard to facts.” Doc. 302 - Pg. 10. The district court even called

President Trump’s attempts to clear his name of defamation by the media

a “shameless attack on a freedom essential to democracy” and “bully[ing]




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journalists.” Id. at Pg. 24. Frankly, if the district court had such strong

political reservations, recusal was warranted.


           5.    The district court improperly awarded Appellees’
                 attorney’s fees and other fees.

     The amount of the sanctions awarded was inappropriate. In its

January 19, 2023, sanctions Order, the district court awarded Appellees

all attorney’s fees. Doc. 302 - Pg. 45. The “American Rule” prohibits the

shifting of attorney's fees in most cases. See Alyeska Pipeline Service Co.

v. Wilderness Society, 421 U.S. 240, 259 (1975). An exception allows

federal courts to exercise their inherent power to impose such fees as a

sanction when a party has acted in bad faith, vexatiously, wantonly, or

for oppressive reasons. See Alyeska Pipeline Service Co., 421 U.S. at 258–

259. The exception generally applies when a party practices a fraud upon

the court, delays or disrupts the litigation, or hampers enforcement of a

court order. See Barnes, 158 F.3d at 1214 (internal quotations omitted).

     Here, Appellants did not cause any delays or disrupt the litigation.

In fact, the opposite is true. Appellants consented to each request for an

extension or similar accommodation the more than thirty Defendants

requested. When it was determined an Amended Complaint would need


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to be filed, Appellants filed a motion seeking to extend the deadline to

amend to allow for a consolidated motion to dismiss that would save time

and costs for all defense counsel involved. In this way, and in others,

Appellants always dealt with Appellees’ counsel professionally and

courteously.

     In its June 23, 2022, Order, the district court specifically noted it

had “reviewed Plaintiff’s Amended Complaint” and encouraged the

Defendants “to the extent that the allegations against certain

Defendants, and therefore the arguments relied on by those Defendants

in support of dismissal, remain unchanged, and in the interest of

reducing costs in this action, Defendants are advised they may readopt

their prior Motions to Dismiss if they so choose.” Doc. 188. In a

subsequently filed Order, the district court noted the Amended

Complaint “did not significantly alter the allegations as to most

Defendants, and the arguments in support of dismissal of the Amended

Complaint should therefore be substantially similar to the arguments in

support of dismissal of Plaintiff’s original Complaint.” Doc. 200.

     Despite the district court’s urging them to “readopt” their prior

arguments, Appellees proceeded to bill a similar amount of time to put


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forth what has been described by the Court as “substantively identical

arguments in support of dismissal [as the] earlier round of briefing.” Doc.

267 - Pg. 63. In other words, Appellees claim to have incurred nearly five

hundred thousand dollars in crafting a response to the Amended

Complaint that was essentially unchanged from their prior response.

     It is apparent the costs incurred by Appellees do not have a

legitimate financial nexus to the filing of the Amended Complaint. At a

minimum, Appellees made no effort to mitigate their damages. See

Riddle v. Egensperger, 266 F3d 542, 556 (6th Cir. 2001) (“[D]efendants

made a tactical decision to participate in a scorched earth approach

rather than to mitigate their damages. It is now too late to change

course.”). Shockingly, the district court chose to punish Appellants for

Appellees’ conduct.

     Regardless, fees should have never been awarded in the first place.

Appellants conduct throughout this litigation was nothing but civil and

accommodating to the court and the other parties. Appellants have never

even approached the bad faith, vexatious, wanton, or oppressive behavior

found in the caselaw where fees were awarded, such as Chambers.




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Accordingly, Appellants respectfully request this Court reverse the

district court’s sanctions Order of January 19, 2023.


        b.    Award of Rule 11 sanctions to Appellee Dolan was abuse of
              discretion.

     On November 10, 2022, the district court granted Appellee Dolan’s

Rule 11 motion for sanctions. Doc. 284. The district court accepted three

‘facts’ in Appellee Dolan’s favor: (1) Appellee Dolan was not “intimately”

involved with the Clinton Campaign, and “there was no basis” for that

belief, (2) Appellee Dolan was not the source of allegations against

President Trump regarding salacious sexual activity in a Moscow Ritz

Carlton hotel, and (3) Appellee Dolan did not engage with Appellee

Danchenko to provide information for the Steele dossier. Doc. 268 - Pgs.

5–7; Doc. 284 - Pgs. 6–9.

     To properly issue Rule 11 sanctions, the district court was required

to find: (1) a party filed a pleading that has no reasonable factual basis;

(2) when the party filed the pleading that the legal theory on which it is

premised had no reasonable chance of success or did not advance a

reasonable argument to change existing law; or (3) it was bad faith or for

an improper purpose when the party filed the pleading. Massengale v.


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Ray, 267 F.3d 1298, 1301 (11th Cir. 2001) (citing Worldwide Primates,

Inc. v. McGreal, 87 F.3d 1252, 1254 (11th Cir. 1996)). Here, the Rule 11

sanctions were improper because Appellants’ conduct did not reach any

threshold requirement.

     Appellant has already argued in detail above that its conduct was

not in bad faith or for an improper purpose and that its arguments were

meritorious and sought a reasonable extension of the law. This section,

therefore, will focus on the factual bases for the claims relating to

Appellee Dolan, and that the district court made a clear error of judgment

in accepting the representations of Dolan’s pleadings as true, particularly

without evidentiary hearing.

     For sanctions to be appropriate, “the filing for which sanctions are

imposed must be frivolous, that is, it must enjoy no factual and legal

support   in    the     record.”   Indus.        Risk     Insurers     v.   M.A.N.

Gutehoffriungshutte GmbH, 141 F.3d 1434, 1448 (11th Cir. 1998); see

also Davis v. Carl, 906 F.2d 533, 538 (11th Cir. 1990) (“Rule 11 is

intended to deter claims with no factual or legal basis at all; creative

claims, coupled even with ambiguous or inconsequential facts, may merit

dismissal, but not punishment.”) (emphasis in original)). “In deciding the


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propriety of Rule 11 sanctions, a court first determines whether the

party's claims are objectively frivolous and then, if so, whether the

signatory to the pleading should have been aware that they were

frivolous-whether he would have been aware of the frivolousness if he

had made a reasonable inquiry.” Delaware Valley Floral Group, Inc. v.

Shaw Rose Nets, LLC, 2008 WL 11333071, at * 1 (S.D. Fla. Dec. 19, 2008)

(citing Worldwide Primates, Inc. v. McGreal, 87 F.3d 1252, 1254 (11th

Cir. 1996)). As discussed throughout, the filings all had merit.

      As this Court has held, “sanctions may not be imposed unless a

particular allegation is utterly lacking in support.” United States v.

Stinson, 729 Fed. App’x 891, 900 n.7 (11th Cir. 2018). As now confirmed

in the Durham Report, President Trump’s claims had significant factual

support and Appellee Dolan greatly misrepresented his role to the

district court.

      First, while Appellee Dolan may not have been “intimately”

involved with the Clinton Campaign, there was certainly a reasonable

basis for thinking he was. Russian official Olga Galinka, who Appellee

Dolan frequently met with, believed Appellee Dolan played a significant

role in the Clinton Campaign. When Appellee Dolan told Galinka he was


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attending a reception for Hillary Clinton, Galinka asked him to deliver a

message directly to Appellee Clinton. Durham Report at Pg. 148. Galinka

further stated in emails that if Appellee Clinton were elected President,

Appellee Dolan would take her to the State Department. Id. While

Appellee Dolan originally stated he did not discuss politics with Galinka,

his story unraveled after Appellee Dolan was confronted with emails and

social media messages between him and Galinka. Id. at Pg. 149. Galinka

even admitted to discussing the Steele reports with Appellee Dolan. Id.

     Further, Appellee Dolan’s role in the political world was not as de

minimus as simply knocking on doors. Appellee Dolan “previously served

as (i) Executive Director of the Democratic Governors Association, (ii)

Virginia Chairman of former President Clinton’s 1992 and 1996

presidential campaigns, and (iii) an advisor to Hillary Clinton’s 2008

presidential campaign.” Durham Report at Pgs. 138–39. Thus, it was not

a stretch to say Appellee Dolan previously served in significant positions

within the Democratic National Party apparatus.

     Second, the Durham Report suggests Appellee Dolan was, in fact,

the source of salacious sexual activity rumors regarding President

Trump. Durham Report at Pg. 145. Specifically, it notes, “the June 20,


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2016 Steele Report reflected facts that Dolan learned during the June

Planning trip to Moscow.” Id. In June 2016, Appellee Dolan stayed at the

Ritz Carlton, received a tour of the hotel, and met with senior staff,

including the hotel’s general manager. Id. Notably, on June 15, 2016,

Appellee Dolan sent an email stating, “I’m in Russia making plans to be

adopted in the event this mad man [President Trump] gets elected.” Id.

at Pg. 144. On June 17, 2016, after meeting with Appellee Dolan in

Moscow, Appellee Danchenko flew to London to meet with Appellee

Steele. Id. at Pg. 144. And, on June 20, 2016, Appellee Steele published

the false allegation of salacious sexual activity by President Trump. Id.

The Durham Report also described that during his interview with their

office regarding these false allegations of salacious sexual activity,

Appellee Dolan was “inconsistent,” and his “recollection vacillated.” Id.

at Pg. 145. Ultimately, the Durham Report concluded, “[i]n light of these

facts, there appears to be a real likelihood Appellee Dolan was the actual

source of much of the Ritz Carlton and Pavlov information contained in

the Steele Reports.” Durham Report at Pg. 148.

     Third, the Durham Report also outlines Appellee Dolan’s role in the

crafting of the Steele dossier. While it may be true Appellee Dolan first


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became affiliated with Appellee Danchenko to plan a conference in

Moscow, his role in this conspiracy grew over time, and it was untruthful

for Appellee Dolan to claim he had no role in the Steele dossier.

     Appellee Steele specifically named Appellee Dolan as one of the

sources of the dossier. Id. at Pg. 137. While Appellee Dolan claims to have

never met Steele, “[c]uriously, Steele was in Cyprus at the same time

Dolan was meeting with Galinka and others in Cyprus.” Id. at Pg. 148.

Appellee Dolan further admitted he provided information to Appellee

Danchenko that ultimately ended up in the Steele dossier regarding Paul

Manafort’s firing, and that he fabricated the information. Id. at Pgs. 138,

148, 152, 172. In addition, “[t]he Steele Report contained information

that Danchenko had gathered directly from Dolan.” Id. at Pg. 150.

Galinka told the FBI “she provided Dolan with information that would

eventually be in the Steele Reports.” Id. at Pg. 172.

     During all of this, Appellee Danchenko even emailed Appellee

Dolan looking for “rumor[s]” because he was “working on a ‘project

against Trump.’” Durham Report at Pg. 150. While Appellee Dolan has

continued to maintain he only provided [false] information on Manafort’s

firing, the Durham Report acknowledged allegations in the September


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2016 Steele report “bore substantial similarities to information that

Dolan received in May and August 2016.” Id. at Pg. 154. As the Durham

Report stated, based on Appellee Dolan’s emails, he “appears to volunteer

that he possesses inside information on the Steele Report allegations.”

Id. at Pg. 156.

      Appellee Dolan had connections to key sources of the Steele dossier,

such as Dimitry Peskov, Alexey Paclov, Olga Galinka and her employer,

and Appellee Danchenko, who was the “primary sub-source for the Steele

Reports”. Id. at Pgs. 171–72. Appellee Danchenko also left out material

information regarding his meetings with Defendant Dolan during

interviews with the FBI. Id. at Pg. 161.

     These facts, among many others in the Durham Report, highlight

President Trump’s good faith bases for his allegations against Appellant

Dolan. While Appellee Dolan may not have held the official title of

Chairman of the DNC, nor is he a resident of New York, these facts are

immaterial to the Amended Complaint as a whole. Immaterial facts are

an insufficient basis for Rule 11 sanctions. See In re Gen. Elec. Sec. Litig.,

2021 WL 2688695, at *7 (S.D.N.Y. Jun. 30, 2021) (holding sanctions were

not appropriate where the errors of fact played no material role in the


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outcome of the litigation); Forrest Creek Assoc., Ltd. v. McLean Sav. &

Loan Ass’n, 831 F.2d 1238, 1245 (4th Cir. 1987) (“[Rule 11 sanctions] do

[ ] not extend to isolated factual errors, committed in good faith, so long

as the pleading as a whole remains ‘well grounded in fact.’”); In re South

Coast Oil Corp., 566 Fed. Appx. 594, 596 (9th Cir. 2014) (denying

sanctions   because     the   alleged   mischaracterizations          were    either

aggressive advocacy or immaterial to the merits of the case).

     Ultimately, the facts alleged in the indictment indicated Appellee

Dolan was substantively involved in the RICO conspiracy alleged. Given

the developing nature of the criminal case, it was reasonable for the

Appellants to rely upon the information contained in the indictment

along with their own investigation into the allegations. Accordingly, the

material facts pertaining to Appellee Dolan in the Amended Complaint

were undoubtedly plausible, as the Durham Report confirms. A

reasonable inference can therefore be drawn that Appellee Dolan

knowingly fed information to Appellee Danchenko that Appellee Steele

would ultimately use in an attempt to harm President Trump and his

presidential campaign. Thus, Rule 11 sanctions for any alleged

mischaracterizations are wholly inappropriate.


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      Lastly, the district court erred in not allowing a hearing. Under

Rule 11, while no hearing is necessarily required, if a court is asked to

resolve an issue of credibility or to determine whether a good faith

argument can be made for the legal position taken, the risk of an

erroneous imposition of sanctions under limited procedures and the

probable value of additional hearing is likely to be greater. Donaldson,

819 F.2d at 1561. Prior opportunities to respond to Rule 11 charges will

also influence the extent to which further hearing is necessary. Id. The

type of notice required depends on the facts. Here, the district court found

Appellants’ pleadings as to Appellee Dolan to be incredible; thus, a

hearing would have been proper given the emphasis on credibility.

      Given there was no hearing, the facts contained in the Durham

Report indicate Appellee Dolan’s involvement in the Steele dossier, and

the veracity of the legal claims, the district court erred in granting

sanctions to Appellee Dolan under Rule 11. This error is in addition to

the district court’s error in using its inherent power to impose sanctions.

Thus, Appellants respectfully request this Court reverse all sanctions

awards.




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                             CONCLUSION


      The district court erred in holding the statute of limitations had

expired on President Trump’s RICO claims, and that the RICO and

injurious falsehood claims had no merit. Further, given the merits of

President Trump’s claims, the district court erred in awarding sanctions.

Accordingly, Appellants respectfully request this Court vacate the

district court’s motion to dismiss Order as it pertains to Counts I, II, and

III as to Appellees Clinton, Clinton Campaign, DNC, Perkins Coie,

Sussmann, Dolan, Sullivan, Podesta, Mook, Reines, Elias, Fusion GPS,

Simpson, Fritsch, Nellie Ohr, Bruce Ohr, Orbis Ltd., Steele, Danchenko,

Neustar, Inc., Neustar Security Services, Schultz, and Joffe, and vacate

both of the district court’s sanctions Orders as to all Appellees.




Dated: June 9, 2023                    Respectfully submitted,

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                  CERTIFICATE OF COMPLIANCE


      Undersigned counsel certifies that this Petition complies with the

type-volume limitation of Federal Rule of Appellate Procedure 5(c)(1), as

well as 11th Cir. R. 32-4 pursuant to Appellants’ unopposed motion for

extension and renewed motion for extension, because, excluding the parts

of the Petition exempted by Federal Rule of Appellate Procedure 32(f), it

contains 14,889 words.

      Undersigned counsel certifies that this Petition complies with the

typeface requirements of Federal Rule of Appellate Procedure 32(a)(5)

and the type-style requirements of Federal Rule of Appellate Procedure

32(a)(6) because this brief has been prepared in a proportionally spaced

typeface using Microsoft Word in 14-point Century font.



Dated: June 9, 2023                          Respectfully submitted,

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                                             Group

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                        CERTIFICATE OF SERVICE


      I certify that on June 9, 2023, a copy of the foregoing was filed with

the Clerk of the Court using the Court’s CM/ECF system, which will send

a copy to all counsel of record.



                                             /s/ Jesse R. Binnall
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